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 Attorneys for Defendant John Stetson

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


  CREIGHTON TAKATA, Individually and                    Civil Action No. 18-cv-2293
  on behalf of all others similarly situated,                  (FLW)(TJB)

                    Plaintiff,                          CONSOLIDATED ACTION

                        v.                               DECLARATION OF
                                                       DANIEL R. WALFISH IN
  RIOT BLOCKCHAIN, INC. F/K/A                      SUPPORT OF APPLICATION FOR
  BIOPTIX, INC., et al.,                             ADMISSION PRO HAC VICE

                   Defendants.


       DANIEL R. WALFISH, ESQ., an attorney duly admitted to practice before

 the courts of the State of New York, declares as follows:

       1.     I submit this Declaration to the Court in support of the application for

 my admission to the United States District Court for the District of New Jersey pro

 hac vice for purposes of this pending action.

       2.     I am an attorney in good standing admitted to practice law in New

 York. I was admitted to practice in New York in April 2005. In New York State

 each department of the Appellate Division maintains the roll of its members, and

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 the Appellate Division, Second Judicial Department, is headquartered at 45

 Monroe Place, Brooklyn, NY 11201.

       3.     I am an attorney with the law firm Walfish & Fissell PLLC. The

 purpose of this application is to make it possible for me to represent Defendant John

 Stetson, who has sought Walfish & Fissell PLLC’s advice and assistance as counsel.

       4.     I am willing to submit to the jurisdiction of this Court and to comply

 with all of its rules and procedures. To ensure my familiarity with these regulations

 I have reviewed the Local Civil Rules of this Court. I have also requested that

 Matthew M. Oliver and attorneys from the law firm of Lowenstein Sandler LLP,

 acting as co-counsel, review, sign, and file all pleadings, accept service of all papers

 served, remain responsible for the conduct of the case, and otherwise ensure that the

 requirements of Local Civil Rule 101.1(c) are met.

       5.     I further agree to:

              a.     make all required payments to the New Jersey Lawyer’s Fund for

       Client Protection in accordance with New Jersey Court Rules 1:20-1(b), 1:28-

       2(a), and 1:28B-1(e), and to the Clerk of the United States District Court in

       accordance with L. Civ. R. 101.1(c)(3), as amended;

              b.     abide by New Jersey Court Rules;

              c.     notify this Court immediately of any matter affecting my

       standing at the Bar of any other Court;


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              d.     otherwise comply with the requirements of L. Civ. R. 101.1(c);

       and

              e.     have all pleadings, briefs, and other papers filed with the Court

       signed by an attorney of record authorized to practice in the United States

       District Court for the District of New Jersey.

       6.     I have never been convicted of a crime, censured, disciplined, or

 disbarred by any court; nor do I have any disciplinary or contempt proceedings

 involving me pending before any court, nor have I been denied admission to any

 court during the last five years.

       I hereby declare that the foregoing statements made by me are true. I

 understand that if the foregoing statements made by me are willfully false, I may be

 subject to punishment.



 Dated: New York, New York
 June 26, 2020
                                         _/s/ Daniel R. Walfish ______________
                                         Daniel R. Walfish




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